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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11

)
W. R. GRACE & CO., et al.,! ) Case No. 01-01139 (JKF)

) Gointly Administered)
Debtors
CERTIFICATE OF SERVICE
I, Kurt F. Gwynne, Esquire, certify that I am over 18 years of age and that on this 2nd
day of March 2007, I caused a true and correct copy of the Summary of Application of Reed
Smith LLP for Compensation for Services and Reimbursement of Expenses as Special Asbestos
Products Liability Defense Counsel to Debtors for the Sixty-Seventh Monthly Interim Period

from January 1, 2007 Through January 31, 2007 (with attached Fee and Expense Detail) to be

served upon the parties on the attached service list in the manner indicated.

By: /s/ Kurt F. Gwynne
Kurt F. Gwynne (No. 3951)

Special Asbestos Products Liability Defense
Counsel

! ‘The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn., A-1

Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP,
Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy,
LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Lid., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners
I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville
Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G"
II Inc, Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace Offshore
Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace
Washington, Inc., W. R. Grace Capital Corporation, W. R..Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land
Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc.,
Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated,
Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA
Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C
Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company,
CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.
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SERVICE LIST

VIA FIRST CLASS MAIL AND ELECTRONIC MAIL

W.R. Grace & Co.

Attn: David B. Siegel, Esq.

Senior V.P. and General Counsel
7500 Grace Drive

Columbia, MD 21044

E-mail: william.sparks@grace.com

Warren H. Smith

Warren H. Smith and Associates
325 N. St. Paul

Suite 4080

Dallas, TX 75201

E-mail: feeaudit@whsmithlaw.com

VIA HAND DELIVERY

Frank J. Perch III, Esq.

Office of the United States Trustee
844 King Street, Suite 2311
Wilmington, DE 19801

VIA ELECTRONIC MAIL

James H.M. Sprayegen, Esq.
Kirkland & Ellis
E-mail: james kapp@chicago.kirkland.com

Laura Davis Jones, Esq.
Pachulski, Stang, Ziehl, Young, Jones & Weintraub LLP
E-mail: joneill@pszyjw.com

J. Douglas Bacon, Esq.

Latham & Watkins

E-mail: david.heller@lw.com
carol .hennessey@|w.com

Steven M, Yoder, Esq.
The Bayard Firm
E-mail: syoder@bayardfirm.com

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Lewis Kruger, Esq.
Stroock & Stroock & Lavan LLP
E-mail: rserrette@stroock.com

Michael R. Lastowski, Esq.
Duane Morris LLP
Email: mlastowski@duanemorris.com

Scott L. Baena, Esq.
Bilzen, Sumberg, Dunn Baena, Price
& Axelrod

E-mail: jsakalo@bilzin.com

Michael B. Joseph, Esq.
Ferry Joseph & Pearce, P.A.
E-mail: ttacconelli@ferryjoseph.com

Elihu Inselbuch, Esq.
Caplin & Drysdale
E-mail: pyvnl@capdale.com

Marla Eskin, Esq.
Campbell & Levine, LLC
E-mail: meskin@camlev.com

Philip Bentley, Esq.
Kramer Levin Naftalis & Frankel LLP
E-mail: pbentley@kramerlevin.com

Teresa K. D. Currier, Esq.
Buchanan Ingersoll & Rooney PC
E-mail: teresa.currier@bipc.com

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